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                       Exhibit D
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
 -------------------------------------------------------------- x
SMARTMATIC USA CORP., SMARTMATIC                                :
INTERNATIONAL HOLDING B.V., and SGO                             :
CORPORATIONS LIMITED,                                           :
                                                                :
                                     Plaintiffs,                :
                                                                : Civil Action No. 1:21-cv-02900-CJN
                         v.                                     :
                                                                :
HERRING NETWORKS, INC. D/B/A ONE                                :
AMERICA NEWS NETWORK,                                           :
                                                                :
                                     Defendant.                 :
                                                                :
 -------------------------------------------------------------- x

        RESPONSES AND OBJECTIONS OF NON-PARTY GEORGE SOROS TO
                  DEFENDANT’S SUBPOENA DUCES TECUM

                Pursuant to Fed. R. Civ. P. 45, non-party George Soros (“Mr. Soros”) hereby

responds and objects to the Subpoena Duces Tecum, dated July 06, 2023 (the “Subpoena”), served

by Herring Networks, Inc. d/b/a/ One America News Network (“Defendants”). Service of these

responses and objections is and shall be without prejudice to Mr. Soros’s right to move to quash

or for other relief with respect to the Subpoena. Mr. Soros expressly reserves, and does not waive,

his right to oppose any motion to compel any of the Documents or information requested in the

Subpoena or move for a protective order denying, limiting, conditioning or regulating the use of

the Subpoena.

                                 PRELIMINARY STATEMENT

                Mr. Soros objects to the Subpoena because its Requests are not relevant to the

claims or defenses of any party and/or not proportional to the needs of this case, and, thus, will not

aid in resolving the issues in this case and/or the burden or expense of the proposed discovery

outweighs its likely benefit. The statements that Smartmatic has alleged are defamatory and that
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form the basis for the claims and defenses in this Action are set forth in the Complaint. See Compl.

at ¶¶ 441, 456. In sum and substance, Smartmatic accuses Defendants of publishing and/or

republishing false statements and implications that Smartmatic attempted to fix, rig, and steal the

2020 U.S. election and that its election technology and software (i) was widely used in the 2020

U.S. election, including in contested states where claims of election fraud were made; (ii) was

hacked or compromised during the 2020 U.S. election or while votes were sent abroad to be

counted; and (iii) was designed to fix, rig, and steal elections and has been used to do so before.

               The references to Mr. Soros, on the other hand, relate to limited topics.

Specifically: (i) statements regarding the “links” between Smartmatic and Mr. Soros—namely, the

undisputed fact that Lord Mark Malloch Brown, Chairman of Smartmatic’s parent company, SGO,

was at one point a board member of the Open Society Foundations Global Board; and

(ii) statements concerning Mr. Soros’s alleged funding or ownership of Smartmatic (the “Relevant

Issues”). Accordingly, Mr. Soros will produce documents, if any, sufficient to show funding he

has provided to Smartmatic and/or ownership interest he has, or has had, in Smartmatic, identified

after a reasonable search. In addition, if Defendants can demonstrate that Smartmatic is contesting

that Lord Mark Malloch Brown once served as a Board Member of the Open Society Foundations

Global Board, Mr. Soros will produce documents sufficient to prove the truth of that statement.

Mr. Soros will not search for or produce any additional materials, as any such materials are

irrelevant to the Soros-related statements alleged to be defamatory in this Action.

               In addition, Mr. Soros objects to the Subpoena in its entirety on the grounds that its

service is an abuse of process that constitutes harassment of a non-party. The Complaint in this

Action cites, within its hundreds of pages, only a handful of vague allusions, made by OANN

personnel or their guests, to a purported “link” between Smartmatic and Mr. Soros. This handful




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of stray, imprecise remarks does not provide grounds for the broad requests served on Mr. Soros,

a private non-party to this Action. The alleged defamatory remarks, which are at most peripheral

to this action, do not justify the expense required to respond to this Subpoena, nor do they provide

a basis to obtain the personal and professional communications of Mr. Soros.

               Mr. Soros responds to the Requests, including the definitions and instructions

referenced therein, subject to the General Objections set forth below. These limitations and

objections, which form a part of the response to each individual request, are set forth here to avoid

the repetition of restating them for various individual responses. For emphasis, certain of the

General Objections may also be specifically referred to in the response to certain Requests. Failure

to repeat any General Objection in response to a particular Request is not a waiver of the General

Objection. A statement that Mr. Soros will produce documents and communications responsive

to a particular Request is not a representation that such documents and communications exist

and/or are in the possession, custody, or control of Mr. Soros, but rather that they will be produced

if they are located in the course of a reasonable search. Counsel agrees to meet and confer with

Defendants regarding the Subpoena after service of these responses and objections.

                        GENERAL RESPONSES AND OBJECTIONS

               1.      Mr. Soros objects to the Subpoena to the extent that its Requests are not

relevant to the claims or defenses of any party and/or not proportional to the needs of this case,

and, thus, will not aid in resolving the issues in this case and/or the burden or expense of the

proposed discovery outweighs its likely benefit, as described in the Preliminary Statement above.

               2.      Mr. Soros objects to the Subpoena in its entirety on the grounds that it is

unduly burdensome and oppressive to the extent that it seeks Documents that would require an

unreasonable expenditure of time and resources to obtain and would impose unreasonable expense

upon Mr. Soros to comply.


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               3.     To the extent Mr. Soros produces any Documents responsive to the

Subpoena, he will do so on the condition that Defendants agree to reimburse Mr. Soros in full for

all expenses (including attorney’s fees and disbursements) he reasonably incurs in complying with

any aspect of the Subpoena, consistent with Fed. R. Civ. P. 45. Mr. Soros expressly reserves his

right to seek reimbursement from Defendants for all reasonable expenses, including attorneys’ fees

and disbursements, incurred in connection with responding to the Subpoena and expressly reserves

his right to move for payment of fees at any time, including before any production or after such

production is complete. Hinterberger v. Catholic Health Sys. (In re Am. Nurses Ass'n), 2016 WL

1381352 at *6 (4th Cir. 2016) (agreeing that Rule 45(d)(2)(B)(ii) of the Federal Rules of Civil

Procedure provides that payment of attorneys’ fees incurred by a nonparty in responding to a

document subpoena can be “shifted” to the party which issued the subpoena); In re First Am.

Corp., 184 F.R.D. 234, 241 at *2 (S.D.N.Y. 1998) (a nonparty’s legal fees, especially where the

work benefits the requesting party, are a cost of compliance reimbursable under Rule

45(c)(2)(B)); In re L. Firms of McCourts & McGrigor Donald, No. M. 19-96 (JSM), 2001 WL

345233, at *3 (S.D.N.Y. Apr. 9, 2001) (nonparty respondents were entitled, under the federal rules,

to receive in advance the reasonably estimated costs of document production, including attorney's

fees); Kahn v. General Motors Corp., No. 88 Civ. 2982, 1992 WL 208286, at *2 (S.D.N.Y. Aug.

14, 1992) (nonparty was awarded reimbursement of legal fees that were incurred “in connection

with the retrieval, identification, and review of documents called for by the subpoena”).

               4.     Mr. Soros objects to the Subpoena to the extent that it seeks the disclosure

of information protected by the attorney-client privilege, attorney work-product doctrine, or any

other applicable privilege, protection, or immunity from discovery (“Privileged Materials”).

Mr. Soros objects to the production of Privileged Materials. Inadvertent production or disclosure




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of any Privileged Materials is not intended to be, and shall not operate as or be deemed to be, a

waiver of any claim of privilege, protection, or immunity in whole or in part; nor is any such

inadvertent production or disclosure intended to be, nor shall it operate as, or be deemed to be, a

waiver of the right to object to any use of such Document or of the information contained therein.

Mr. Soros also objects to the Subpoena to the extent that it seeks information that is personal,

private, confidential, proprietary, and/or competitively sensitive (“Private Communications”). To

the extent Mr. Soros produces Documents, he will only do so subject to the Amended

Confidentiality Agreement and Protective Order, dated December 16, 2022, found at Dkt. 48.

Mr. Soros expressly reserves the right to redact privileged, confidential, proprietary, commercially

sensitive, or irrelevant information from any Documents produced in response to the Subpoena.

                5.      Mr. Soros objects to the Subpoena in its entirety on the grounds that it is

overbroad as to time. The Subpoena purports to seek Documents without any limitation regarding

time periods that are not at issue in this action and thus seeks Documents that are not material and

necessary to the prosecution or defense of this action, not reasonably calculated to lead to the

discovery of admissible evidence, or otherwise of little or no probative value. For example, the

Subpoena purports to seek material regarding Smartmatic’s connection to the Venezuelan

Government, which is a relationship that appears to exist as far back as 2004 (and potentially

earlier). At the same time, the Subpoena places no restriction on searching for documents that

post-date the events at issue in the Action (or even post-date the filing of the Complaint on

November 3, 2021), despite having no relevance to the conduct at issue.

                6.      Mr. Soros objects to the Subpoena to the extent that it seeks Documents that

are: (i) not within Mr. Soros’s possession, custody, and/or control; (ii) within the possession,

custody, and/or control of the parties to this action; (iii) readily available to the public; or (iv) more




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easily attainable from other parties or non-parties. Mr. Soros objects to the Subpoena to the extent

that its requests are duplicative and cumulative of documents sought from Smartmatic in this

Action. Any documents that are in the possession, custody and control of Smartmatic should be

requested from, and produced, by the parties to the litigation in the first instance.

               7.      Mr. Soros objects to the Subpoena to the extent that it seeks the production

of “any” or “all” Documents of a particular type under circumstances in which a subset of such

documents would be sufficient to show the pertinent information. With regards to the Relevant

Issues, Mr. Soros will only agree to produce documents sufficient to show the facts related to those

issues.

               8.      Mr. Soros objects to various definitions in the Subpoena, including:

                       a.      the definition of the terms “and” and “or” on the grounds that they

                               are vague and ambiguous and/or employ phrases that embody legal

                               concepts and/or are capable of varying interpretations (e.g.,

                               “conjunctive and” and “disjunctive or”). Mr. Soros also objects to

                               this definition on the grounds that it is so broadly defined as to

                               render those requests containing these terms objectionable on the

                               bases set forth in General Objections Nos. 1-2 & 5. Mr. Soros will

                               construe the terms “and” and “or” to have their ordinary meaning.

                       b.      the definition of the terms “Smartmatic Entity(ies),” “SGO

                               Corporation Limited,” “Smartmatic International Holding B.V.,”

                               and “Smartmatic USA Corp.,” on the grounds that they are vague

                               and ambiguous because they are drafted in a manner that does not

                               describe with reasonable clarity the persons at issue (e.g.,




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                   “representatives”) and/or employ phrases that embody legal

                   concepts and/or are capable of varying interpretations (e.g.,

                   “agents”). Mr. Soros also objects to these definitions on the grounds

                   that they are so broadly defined as to render those requests

                   containing these terms objectionable on the bases set forth in

                   General Objection Nos. 1-2 & 5. Mr. Soros will construe these

                   terms to mean Smartmatic Entity(ies), SGO Corporation Limited,

                   Smartmatic International Holding B.V., Smartmatic USA Corp.,

                   and (to the extent known to Mr. Soros) its personnel.

             c.    the definition of the terms “Dominion Entity(ies),” “US Dominion,

                   Inc.,” “Dominion Voting Systems Corporation,” and “Dominion

                   Voting Systems, Inc.” on the grounds that they are vague and

                   ambiguous because they rare drafted in a manner that does not

                   describe with reasonable clarity the persons at issue (e.g.,

                   “representatives”) and/or employ phrases that embody legal

                   concepts and/or are capable of varying interpretations (e.g.,

                   “agents”). Mr. Soros also objects to these definitions on the grounds

                   that they are so broadly defined as to render those requests

                   containing these terms objectionable on the bases set forth in

                   General Objection Nos. 1-2 & 5. Mr. Soros will construe these

                   terms to mean terms Dominion Entity(ies), US Dominion, Inc.,

                   Dominion Voting Systems Corporation, Dominion Voting Systems,

                   Inc., and (to the extent known to Mr. Soros) its personnel.




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             d.    the definition of the term “Document” which is defined to include

                   “any writing, graphic matter, or other tangible or digital thing,

                   whether printed, recorded, produced by any process, or written or

                   produced by hand, including, without limitation, agreements,

                   contracts,    correspondence,     memoranda,      letters,   reports,

                   Communications (as defined above) and Electronically Stored

                   Information (as defined below), correspondence, telegrams, internal

                   and external memoranda, summaries, records of oral conversations,

                   original or preliminary notes, diaries, calendars, analyses,

                   projections, ledgers, work papers, photographs, tape recordings,

                   applications, video tapes, computer hard drives or disks, statistical

                   statements, logs, graphs, charts, schedules, notebooks, minutes or

                   records of meetings, minutes or records of conferences, lists of

                   Persons attending meetings or conferences, reports and/or

                   summaries of investigations, opinions or reports of investigators,

                   accountants or consultants, studies, appraisals, evaluations, or

                   copies of any of the foregoing if the copy is in any way different

                   from the original now in Your possession, custody or control, or the

                   possession, custody or control of any Your counsel, investors,

                   agents, employees and/or Persons acting on Your behalf,” on the

                   grounds that it is vague and ambiguous and/or is subject to varying

                   interpretations.   Mr. Soros also objects on the grounds that it

                   incorporates other defined terms in the Subpoena that are




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                   themselves objectionable (e.g., “Communication”) and that it is so

                   broadly defined as to render those requests containing this term

                   objectionable on the bases set forth in General Objections Nos. 1-2

                   & 5. Mr. Soros will construe the term “Document” consistent with

                   its meaning under Fed. R. Civ. P. 45 and applicable case law.

             e.    the definition of the term “Communication” which is defined to

                   include “any written, electronic, or verbal transmission of words or

                   thoughts between or among two or more Persons, including, without

                   limitation, any letter, email, instant or text message, social media

                   post, blog post, web posting, interview, conference, meeting, spoken

                   words, conversation, understanding, agreement, discussion, talks,

                   and reports, whether transmitted orally, in writing, or by any

                   electronic device,” on the grounds that it is vague and ambiguous

                   and/or is subject to varying interpretations. Mr. Soros also objects

                   to this definition on the grounds that it is so broadly defined as to

                   render those requests containing this term objectionable on the bases

                   set forth in General Objections Nos. 1-2 & 5. Mr. Soros will

                   construe the term “Communication” to have its ordinary meaning.

             f.    the definition of the terms “relating to,” and its variants “regarding,”

                   “demonstrating,” and “supporting” which are defined to include

                   “any connection, association or concern with, or any relevance,

                   relation, pertinence or applicability to or any implication bearing on,

                   the subject matter, whether directly or indirectly,” on the grounds




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                   that it is vague and ambiguous and/or employs phrases that embody

                   legal concepts and/or are capable of varying interpretations (e.g.,

                   “any connection, association or concern with”). Mr. Soros also

                   objects to this definition on the grounds that it is so broadly defined

                   as to render those requests containing these terms objectionable on

                   the bases set forth in General Objections Nos. 1-2 & 5. Mr. Soros

                   will construe the terms “relating to,” “regarding,” “demonstrating,”

                   and “supporting” to have their ordinary meaning.

             g.    the definition of the terms “You,” “Your,” “Yours,” and/or “Soros,”

                   which are defined to include “George Soros, and shall include any

                   present or former employee, agent, accountant, attorney, expert

                   and/or any other Persons acting, or purporting to act, on behalf of

                   Soros,” on the grounds that it is vague and ambiguous and/or

                   employs phrases that embody legal concepts and/or are capable of

                   varying interpretations (e.g., “agent”). Mr. Soros also objects to this

                   definition as vague and ambiguous because it is drafted in a manner

                   that does not describe with reasonable clarity the persons at issue

                   (e.g., “any other Persons”) and/or employs phrases that embody

                   legal concepts and/or are capable of varying interpretations (e.g.,

                   “expert”). Mr. Soros also objects to this definition on the grounds

                   that it is so broadly defined as to render those requests containing

                   these terms objectionable on the bases set forth in General Objection

                   Nos. 1-2, 5 & 6. Mr. Soros will construe the terms ““You,” “Your,”




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                   “Yours,” and/or “Soros,” to mean Mr. Soros. For the avoidance of

                   doubt, Mr. Soros objects to the production of any documents or

                   information in the possession, custody or control of the Open

                   Society Institute, or any affiliated entity.

             h.    the definition of the term “Electronically Stored Information” or

                   “ESI” which is defined to include “originals and all copies of email;

                   activity listings of email receipts and/or transmittals; voicemail;

                   audio or video recordings of any kind; facsimiles; computer

                   programs (whether private, commercial, or a work-in-progress);

                   programming notes or instructions; social media posts; text

                   messages; instant messages; metadata; output resulting from the use

                   of any software program, including word processing Documents,

                   spreadsheets, database files, charts, graphs, and outlines; operating

                   systems; source code of all types; and electronic files and/or file

                   fragments of any sort, regardless of the media on which they are

                   stored and regardless of whether the data resides in an active file,

                   deleted file, or file fragment. ESI also includes the file, folder tabs,

                   containers or labels appended to any storage device containing

                   electronic data. All ESI produced in response hereto should be

                   produced in native format,” on the grounds that it is vague and

                   ambiguous and/or employs phrases that embody legal concepts

                   and/or are capable of varying interpretations (e.g., “any connection,

                   association or concern with”).        Mr. Soros also objects to this




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                   definition on the grounds that it is so broadly defined as to render

                   those requests containing this term objectionable on the bases set

                   forth in General Objections Nos. 1-2 & 5. Mr. Soros will construe

                   the terms “Electronically Stored Information” or “ESI” to have their

                   ordinary meaning.

             i.    the definition of the term “Other Media Organizations,” which is

                   defined to include “other news, media, and other similar

                   organizations, including but not limited to CNN, CBS, ABC, PBS,

                   The Wall Street Journal, The New York Times, MSNBC, The

                   Washington Post, Fox News, Newsmax, Politico, Vanity Fair,

                   Media Matters, Bloomberg News, The Chicago Tribune, The Los

                   Angeles Times, The Miami Herald, the Times of San Diego and

                   National Public Radio,” on the grounds that it is vague and

                   ambiguous and/or employs phrases that embody legal concepts

                   and/or are capable of varying interpretations (e.g., “similar

                   organizations”). Mr. Soros also objects to this definition on the

                   grounds that it is so broadly defined as to render those requests

                   containing this term objectionable on the bases set forth in General

                   Objections Nos. 1-2 & 5. Mr. Soros will construe the term “Other

                   Media Organizations” to have its ordinary meaning.

             j.    the definition of the term “2020 Election in the United States,”

                   which is defined to include “any election held in the United States

                   on November 3, 2020, including the U.S. Presidential Election and




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                   all voting and related events occurring up to the certification of votes

                   on January 6, 2021, and any down-ballot races or primary

                   elections,” on the grounds that it is vague and ambiguous and/or

                   employs phrases that embody legal concepts and/or are capable of

                   varying interpretations (e.g., “all voting and related events”).

                   Mr. Soros also objects to this definition on the grounds that it is so

                   broadly defined as to render those requests containing this term

                   objectionable on the bases set forth in General Objections Nos. 1-2

                   & 5. Mr. Soros will construe “2020 Election in the United States”

                   to have its ordinary meaning.

             k.    the definition of the term “person” which is defined to include “a

                   natural person or any business, company, corporation, association,

                   partnership organization, or other legal entity,” on the grounds that

                   it is vague and ambiguous and/or employs phrases that embody legal

                   concepts and/or are capable of varying interpretations (e.g., “other

                   legal entity”). Mr. Soros also objects to this definition on the

                   grounds that it is so broadly defined as to render those requests

                   containing this term objectionable on the bases set forth in General

                   Objections Nos. 1-2 & 5. Mr. Soros will construe the term “person”

                   to have its ordinary meaning.

             l.    the definition of the term “Litigation,” which is defined to include

                   “the above-captioned action, including without limitation all matters

                   set forth in the Complaint, any answers, affirmative defenses, or




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                              counterclaims, and all additional pleadings, motions, discovery,

                              affidavits, or other matter,” on the grounds that it is vague and

                              ambiguous and/or employs phrases that embody legal concepts

                              and/or are capable of varying interpretations (e.g., “all matters”),

                              and matters to which Mr. Soros is not privy to (e.g., “discovery”).

                              Mr. Soros also objects to this definition on the grounds that it is so

                              broadly defined as to render those requests containing this term

                              objectionable on the bases set forth in General Objections Nos. 1-2

                              & 5. Mr. Soros will construe the term “Litigation” to mean the

                              allegations set forth in the complaint and answer and affirmative

                              defenses in Smartmatic USA Corp., et al. v. Herring Networks, Inc.

                              d/b/a One America News Network, 1:21-cv-02900 (D.D.C.).

               9.     Mr. Soros objects to Instruction Nos. 22 through 25 to the extent they

incorporate defined terms in the Subpoena that are themselves objectionable (e.g., “Document,”

“Communication,” and “You”). Mr. Soros intends to comply with Fed. R. Civ. P. 45 and

applicable case law in making any production. Counsel is willing to meet and confer with the

Defendants regarding production format.

               10.    Mr. Soros objects to the Subpoena in its entirety on the grounds that it

contains or relies on false, erroneous or disputed factual allegations or assumptions or inaccurate

legal assertions. By responding and objecting to the Subpoena, Mr. Soros does not admit such

allegations, assumptions or assertions.

               11.    Mr. Soros objects to the Subpoena in its entirety to the extent Defendants

are attempting to use the Subpoena as a means to obtain discovery for use in proceedings in any




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other jurisdiction, or for any use other than this Action. Any materials produced by Mr. Soros

shall only be used in connection with this proceeding. See Amended Confidentiality Agreement

and Protective Order, Dkt. 48, Ex. A (¶ 6 (requiring that any materials produced pursuant to the

Protective Order “will [be] use[d] only for purposes of this action”)).

               12.     The Specific Responses and Objections set forth below are based upon

information presently available to Mr. Soros, and Mr. Soros expressly reserves the right at any

time to revise, correct, supplement, modify, or clarify the objections or responses set forth herein.

Failure to object herein shall not constitute a waiver of any objection that Mr. Soros may later

interpose, including as to future supplemental responses.

                        SPECIFIC RESPONSES AND OBJECTIONS

               The following Specific Objections and Responses to the “Document Requests” in

the Subpoena (the “Requests”) shall be deemed to supplement the foregoing Preliminary Statement

and General Objections and Responses, all of which are expressly incorporated into the Specific

Objections and Responses below and are not in any way limited by the Specific Objections and

Responses.    Specific Objections and Responses to the Subpoena’s Requests merely reflect

Mr. Soros’s conclusion that such Request is particularly objectionable for the specific reasons

stated therein, and do not waive any other objections. Mr. Soros’s response to the Subpoena’s

Requests does not constitute a waiver of any privilege, protection, or immunity, or an

acknowledgement that information called for by the Requests is discoverable or admissible under

Fed. R. Civ. P. 45 or any other applicable law or rules.

Document Request No. 1: All Documents and Communications between You and any
Smartmatic Entity, agent, or individual working on behalf of Smartmatic Entities.

Response to Document Request No. 1:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement



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and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including Smartmatic itself (General Objection No. 6),

that it is overly broad as to time (General Objection No. 5), and that it incorporates the following

defined terms which are themselves objectionable for the reasons stated above (General Objection

Nos. 8(a), 8(d), 8(e), 8(g)): “Document[s],” “and,” “or,” “Communication[s],” “You,” and

“Smartmatic Entity(ies).” Mr. Soros also objects to the phrase “working on behalf of” as vague,

ambiguous and overbroad, and on the grounds that Mr. Soros would have no basis to know whether

certain entities or individuals were “working on behalf of” Smartmatic. Mr. Soros also objects to

this Request on the basis that it purports to require the production of Communications, without

limitation of time period, that would require an unreasonable expenditure of time and resources to

obtain, and accordingly is overbroad and unduly burdensome.

               Subject to and without waiving the foregoing objections, Mr. Soros will produce

the materials related to the Relevant Issues (as set forth in the Preliminary Statement), if any,

identified after a reasonable search. Mr. Soros objects to searching for or producing any other

materials in response to Request 1.

Document Request No. 2: All Documents and Communications concerning any Smartmatic
Entity, agent, or individual working on behalf of Smartmatic Entities.

Response to Document Request No. 2:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the



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basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it is overly broad as to time

(General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(b), 8(d),

8(e)): “Document[s],” “and,” “or,” “Communication[s],”and “Smartmatic Entity(ies).” Mr. Soros

also objects to the phrase “working on behalf of” as vague, ambiguous and overbroad, and on the

grounds that Mr. Soros would have no basis to know whether certain entities or individuals were

“working on behalf of” Smartmatic. Mr. Soros further objects to this Request to the extent that it

seeks the discovery of Documents protected by the attorney-client privilege, attorney work-

product doctrine, or any other applicable privilege, protection, or immunity from discovery.

Mr. Soros also objects to this Request on the basis that it purports to require the production of

Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

Mr. Soros also objects to Request No. 2 on the grounds that it is duplicative of documents sought

in request No. 1.

               Subject to and without waiving the foregoing objections, Mr. Soros will produce

the materials related to the Relevant Issues (as set forth in the Preliminary Statement), if any,

identified after a reasonable search. Mr. Soros objects to searching for or producing any other

materials in response to Request 2.

Document Request No. 3: All Documents and Communications between You and any Dominion
Entity, agent, or individual working on behalf of Dominion Entities.

Response to Document Request No. 3:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated



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herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including the Dominion Entities (General Objection

No. 6), that it is overly broad as to time (General Objection No. 5), and that it incorporates the

following defined terms which are themselves objectionable for the reasons stated above (General

Objection Nos. 8(a), 8(c), 8(d), 8(e), 8(g)): “Document[s],” “and,” “or,” “Communication[s],”

“You,” and “Dominion Entity(ies).” Mr. Soros also objects to the phrase “working on behalf of”

as vague, ambiguous and overbroad, and on the grounds that Mr. Soros would have no basis to

know whether certain entities or individuals were “working on behalf of” any Dominion Entities.

Mr. Soros also objects to this Request on the basis that it purports to require the production of

Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 3, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 4: All Documents and Communications concerning any Dominion Entity,
agent, or individual working on behalf of Dominion Entities.

Response to Document Request No. 4:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the



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Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(c), 8(d),

8(e)): “Document[s],” “and,” “or,” “Communication[s],” and “Dominion Entity(ies).” Mr. Soros

also objects to the phrase “working on behalf of” as vague, ambiguous and overbroad, and on the

grounds that Mr. Soros would have no basis to know whether certain entities or individuals were

“working on behalf of” any Dominion Entity. Mr. Soros further objects to this Request to the

extent that it seeks the discovery of Documents protected by the attorney-client privilege, attorney

work-product doctrine, or any other applicable privilege, protection, or immunity from discovery.

Mr. Soros also objects to this Request on the basis that it purports to require the production of

Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 4, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 5: All Documents and Communications between or concerning You and
William E. Kennard.

Response to Document Request No. 5:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the



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Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including from Mr. Kennard (General Objection No.

6), that it is overly broad as to time (General Objection No. 5), and that it incorporates the following

defined terms which are themselves objectionable for the reasons stated above (General Objection

Nos. 8(a), 8(d), 8(e), 8(g)): “Document[s],” “and,” “or,” “Communication[s],” and “You.”

Mr. Soros also objects to this Request on the basis that it purports to require the production of

Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 5, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 6: All Documents and Communications between or concerning You and
AT&T, Inc. and/or DIRECTV, LLC, agent or individual working on behalf of AT&T or
DIRECTV, LLC.

Response to Document Request No. 6:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including AT&T or DIRECTV (General Objection No.

6), that it is overly broad as to time (General Objection No. 5), and that it incorporates the following

defined terms which are themselves objectionable for the reasons stated above (General Objection

Nos. 8(a), 8(d), 8(e), 8(g)): “Document[s],” “and,” “or,” “Communication[s],” and “You.”


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Mr. Soros also objects to the phrase “working on behalf of” as vague, ambiguous and overbroad,

and on the grounds that Mr. Soros would have no basis to know whether certain entities or

individuals were “working on behalf of” AT&T or DIRECTV. Mr. Soros also objects to this

Request on the basis that it purports to require the production of Communications, without

limitation of time period, that would require an unreasonable expenditure of time and resources to

obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 6, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 7: All Documents and Communications related to any Smartmatic
Entity’s or Dominion Entity’s connection to the governments of Venezuela, Kenya, the
Philippines, China, or any other country outside of the United States.

Response to Document Request No. 7:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including from any Smartmatic Entity and/or Dominion

Entity (General Objection No. 6), that it is overly broad as to time (General Objection No. 5), and

that it incorporates the following defined terms which are themselves objectionable for the reasons

stated above (General Objection Nos. 8(a), 8(c), 8(d), 8(e), 8(f)): “Document[s],” “and,” “or,”

“Communication[s],” “relat[ed] to,” “Dominion Entity(ies),” and “Smartmatic Entity(ies).”

Mr. Soros further objects to this Request to the extent that it seeks the discovery of Documents


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protected by the attorney-client privilege, attorney work-product doctrine, or any other applicable

privilege, protection, or immunity from discovery. Mr. Soros also objects to this Request on the

basis that it purports to require the production of Communications, without limitation of time

period, that would require an unreasonable expenditure of time and resources to obtain, and

accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 7, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 8: All Documents and Communications concerning the 2020 Election in
the United States relating to voting equipment or technology, including without limitation any
concerns, criticisms, threats, or vulnerabilities relating to the 2020 Election.

Response to Document Request No. 8:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it is overly broad as to time

(General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(f), 8(j)): “Document[s],” “and,” “or,” “Communication[s],” “relating to,” and “2020 Election in

the United States.” Mr. Soros further objects to this Request to the extent that it seeks the discovery

of Documents protected by the attorney-client privilege, attorney work-product doctrine, or any

other applicable privilege, protection, or immunity from discovery. Mr. Soros further objects to

this Request to the extent it calls for the production of Private Communications (General Objection


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No. 4). Mr. Soros also objects to this Request on the basis that it purports to require the production

of Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 8, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 9: All Documents and Communications concerning and between You
and Lord Mark Malloch-Brown related to the 2020 Election, foreign elections, and Smartmatic
Entities.

Response to Document Request No. 9:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(b), 8(d),

8(e), 8(f), 8(g), 8(j)): “Document[s],” “and,” “Communication[s],” “relat[ed] to,” “You,” “2020

Election [in the United States],” and “Smartmatic Entity(ies).” Mr. Soros further objects to this

Request to the extent that it seeks the discovery of Documents protected by the attorney-client

privilege, attorney work-product doctrine, or any other applicable privilege, protection, or

immunity from discovery. Mr. Soros further objects to this Request to the extent it calls for the

production of Private Communications (General Objection No. 4). Mr. Soros also objects to this


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Request on the basis that it purports to require the production of Communications, without

limitation of time period, that would require an unreasonable expenditure of time and resources to

obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 9, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 10: All Documents and Communications concerning and between You
and Peter V. Neffenger related to the 2020 Election, foreign elections, and Smartmatic Entities.

Response to Document Request No. 10:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including from Mr. Neffenger (General Objection No.

6), that it is overly broad as to time (General Objection No. 5), and that it incorporates the following

defined terms which are themselves objectionable for the reasons stated above (General Objection

Nos. 8(a), 8(b), 8(d), 8(e), 8(f), 8(g), 8(j)): “Document[s],” “and,” “Communication[s],” “You,”

“relat[ed] to,” “2020 Election [in the United States],” and “Smartmatic Entity(ies).” Mr. Soros

further objects to this Request to the extent it calls for the production of Private Communications

(General Objection No. 4). Mr. Soros also objects to this Request on the basis that it purports to

require the production of Communications, without limitation of time period, that would require




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an unreasonable expenditure of time and resources to obtain, and accordingly is overbroad and

unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 10, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 11: All Documents and Communications between the Open Society
Foundations, or any of Your organizations, and Smartmatic Entities or individuals working on
behalf of Smartmatic Entities, including without limitation Lord Mark Malloch-Brown and Peter
V. Neffenger.

Response to Document Request No. 11:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including Smartmatic (General Objection No. 6), that

it is overly broad as to time (General Objection No. 5), and that it incorporates the following

defined terms which are themselves objectionable for the reasons stated above (General Objection

Nos. 8(a), 8(b), 8(d), 8(e), 8(g)): “Document[s],” “and,” “or,” “Communication[s],” “Your,” and

“Smartmatic Entity(ies).”      Mr. Soros also objects to the request for Documents and

Communications from “Open Society Foundations,” which is not a legal entity and has no

Documents and Communications. Mr. Soros also objects to the phrase “working on behalf of” as

vague, ambiguous and overbroad, and on the grounds that Mr. Soros would have no basis to know

whether certain entities or individuals were “working on behalf of” Smartmatic. Mr. Soros also



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objects to this Request on the basis that it purports to require the production of Communications,

without limitation of time period, that would require an unreasonable expenditure of time and

resources to obtain, and accordingly is overbroad and unduly burdensome.

               Subject to and without waiving the foregoing objections, Mr. Soros will produce

the materials related to the Relevant Issues (as set forth in the Preliminary Statement), if any,

identified after a reasonable search. Mr. Soros objects to searching for or producing any other

materials in response to Request 11.

Document Request No. 12: All Documents and Communications relating to your donations,
contributions, or support of any Smartmatic Entity, any Dominion Entity, and/or Sequoia Voting
Systems, Inc. (or any other Sequoia entity).

Response to Document Request No. 12:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including from any Smartmatic, Dominion, or Sequoia

Entity (General Objection No. 6), that it is overly broad as to time (General Objection No. 5), and

that it incorporates the following defined terms which are themselves objectionable for the reasons

stated above (General Objection Nos. 8(a), 8(c), 8(d), 8(e), 8(f), 8(g)): “Document[s],” “and,”

“or,” “Communication[s],” “Your,” “relating to,” “Dominion Entity(ies),” and “Smartmatic

Entity(ies).” Mr. Soros further objects to this Request to the extent that it seeks the discovery of

Documents protected by the attorney-client privilege, attorney work-product doctrine, or any other

applicable privilege, protection, or immunity from discovery. Mr. Soros further objects to this

Request to the extent it calls for the production of Private Communications (General Objection


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No. 4). Mr. Soros also objects to this Request on the basis that it purports to require the production

of Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

               Subject to and without waiving the foregoing objections, Mr. Soros will produce

the materials related to the Relevant Issues (as set forth in the Preliminary Statement), if any,

identified after a reasonable search. Mr. Soros objects to searching for or producing any other

materials in response to Request 12.

Document Request No. 13: All Documents and Communications concerning the Clinton
Foundation or the Clintons related to any investment in voting equipment or technology, including
but not limited to Smartmatic and Dominion Entities.

Response to Document Request No. 13:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(b), 8(c),

8(d), 8(e), 8(f)): “Document[s],” “and,” “or,” “Communication[s],” “relat[ed] to,” “Dominion

Entity(ies),” and “Smartmatic Entity(ies).” Mr. Soros further objects to this Request to the extent

that it seeks the discovery of Documents protected by the attorney-client privilege, attorney work-

product doctrine, or any other applicable privilege, protection, or immunity from discovery.

Mr. Soros also objects to this Request on the basis that it purports to require the production of




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Communications, without limitation of time period, that would require an unreasonable

expenditure of time and resources to obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 13, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 14: All Documents and Communications regarding issues or concerns
raised regarding any electronic voting machines, equipment, hardware, software, and/or servers,
including but not limited to issues or concerns regarding a potential election security breach,
vulnerabilities, or vote tabulation errors.

Response to Document Request No. 14:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(f)): “Document[s],” “and,” “or,” “Communication[s],” and “regarding.” Mr. Soros further

objects to this Request to the extent that it seeks the discovery of Documents protected by the

attorney-client privilege, attorney work-product doctrine, or any other applicable privilege,

protection, or immunity from discovery. Mr. Soros further objects to this Request to the extent it

calls for the production of Private Communications (General Objection No. 4). Mr. Soros also

objects to this Request on the basis that it purports to require the production of Communications,



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without limitation of time period, that would require an unreasonable expenditure of time and

resources to obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 14, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 15: All Documents and Communications concerning claims of election
fraud, bribery, election hacking, and/or the improper or inaccurate tabulation or counting of votes
in the 2020 Election in the United States.

Response to Document Request No. 15:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(j)): “Document[s],” “and,” “or,” “Communication[s],” “2020 Election in the United States.”

Mr. Soros further objects to this Request to the extent that it seeks the discovery of Documents

protected by the attorney-client privilege, attorney work-product doctrine, or any other applicable

privilege, protection, or immunity from discovery. Mr. Soros further objects to this Request to the

extent it calls for the production of Private Communications (General Objection No. 4).

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 15, as


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these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.

Document Request No. 16: All Communications with Other Media Organizations regarding
Smartmatic Entities, Dominion Entities, the 2020 Election in the United States, or claims of
election fraud, election hacking, and/or the improper or inaccurate tabulation or counting of votes.

Response to Document Request No. 16:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including Other Media Sources (General Objection No.

6), that it is overly broad as to time (General Objection No. 5), and that it incorporates the following

defined terms which are themselves objectionable for the reasons stated above (General Objection

Nos. 8(a), 8(c), 8(e), 8(f), 8(i), 8(j)): “Communication[s],” “Other Media Organizations,”

“regarding,” “Dominion Entity(ies),” and “Smartmatic Entity(ies),” “2020 Election in the United

States,” “and,” and “or.” Mr. Soros also objects to this Request on the basis that it purports to

require the production of Communications, without limitation of time period, that would require

an unreasonable expenditure of time and resources to obtain, and accordingly is overbroad and

unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 16, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.




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Document Request No. 17: All Documents and Communications related to U.S. Representative
Carolyn Maloney’s 2006 letters to the Secretary of the Treasury and any investigations conducted
by the United States Department of Treasury’s Committee on Foreign Investment in the United
States (“CFIUS”) of any Smartmatic Entity including, but not limited to, any sale or security
agreements entered into by any Smartmatic Entity with any governmental agencies and any
documents relating to any Smartmatic Entity’s withdrawal from the CFIUS’s investigation.

Response to Document Request No. 17:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(b), 8(d),

8(e), 8(f)): “Document[s],” “and,” “or,” “Communication[s],” “relat[ed] to,” and “Smartmatic

Entity(ies).” Mr. Soros also objects to this Request on the basis that it purports to require the

production of Communications, without limitation of time period, that would require an

unreasonable expenditure of time and resources to obtain, and accordingly is overbroad and unduly

burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 17, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.




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Document Request No. 18: All Documents and Communications relating to any certification of
the 2016 or 2020 Presidential Election in the United States.

Response to Document Request No. 18:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it is overly broad as to time

(General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(f), 8(j)): “Document[s],” “and,” “or,” “Communication[s],” “relating to,” and “2020 [] Election

in the United States.” Mr. Soros further objects to this Request to the extent that it seeks the

discovery of Documents protected by the attorney-client privilege, attorney work-product doctrine,

or any other applicable privilege, protection, or immunity from discovery. Mr. Soros further

objects to this Request to the extent it calls for the production of Private Communications (General

Objection No. 4). Mr. Soros also objects to this Request on the basis that it purports to require the

production of Communications, without limitation of time period, that would require an

unreasonable expenditure of time and resources to obtain, and accordingly is overbroad and unduly

burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 18, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.




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Document Request No. 19: All Documents and Communications relating to the business
relationship between You, Your family members, or Your organizations and any Smartmatic
Entity, Dominion Entity, and/or Sequoia Voting Systems, Inc. (or any other Sequoia entity),
including but not limited to all oral agreements, written contracts, donations, investments,
licensing agreements, and any other form of agreement.

Response to Document Request No. 19:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources, including from any Smartmatic, Dominion or Sequoia

Entity (General Objection No. 6), that it is overly broad as to time (General Objection No. 5), and

that it incorporates the following defined terms which are themselves objectionable for the reasons

stated above (General Objection Nos. 8(a), 8(b), 8(c), 8(d), 8(e), 8(f), 8(g)): “Document[s],”

“and,” “or,” “Communication[s],” “relating to,” “You,” “Your,” “Dominion Entity(ies),” and

“Smartmatic Entity(ies).” Mr. Soros further objects to this Request to the extent that it seeks the

discovery of Documents protected by the attorney-client privilege, attorney work-product doctrine,

or any other applicable privilege, protection, or immunity from discovery. Mr. Soros further

objects to this Request to the extent it calls for the production of Private Communications (General

Objection No. 4). Mr. Soros also objects to this Request on the basis that it purports to require the

production of Communications, without limitation of time period, that would require an

unreasonable expenditure of time and resources to obtain, and accordingly is overbroad and unduly

burdensome.

               Subject to and without waiving the foregoing objections, Mr. Soros will produce

the materials related to the Relevant Issues (as set forth in the Preliminary Statement), if any,


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identified after a reasonable search. Mr. Soros objects to searching for or producing any other

materials in response to Request 19.

Document Request No. 20: All Documents and Communications between You and any
governmental jurisdiction related to the investigation, review, or analysis of voting equipment or
technology, and/or the 2020 Election in the United States.

Response to Document Request No. 20:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(g), 8(j)): “Document[s],” “and,” “or,” “Communication[s],” “You,” and “2020 Election in the

United States.” Mr. Soros further objects to this Request to the extent it calls for the production

of Private Communications (General Objection No. 4). Mr. Soros also objects to this Request on

the basis that it purports to require the production of Communications, without limitation of time

period, that would require an unreasonable expenditure of time and resources to obtain, and

accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 20, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.




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Document Request No. 21: All Documents and Communications between You and any
government agency related to the investigation, review, or analysis of voting equipment or
technology, and/or the 2020 Election in the United States.

Response to Document Request No. 21:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(f), 8(g), 8(j)): “Document[s],” “and,” “or,” “Communication[s],” “relat[ed] to,” “You,” “2020

Election in the United States.” Mr. Soros further objects to this Request to the extent it calls for

the production of Private Communications (General Objection No. 4). Mr. Soros also objects to

this Request on the basis that it purports to require the production of Communications, without

limitation of time period, that would require an unreasonable expenditure of time and resources to

obtain, and accordingly is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 21, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.




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Document Request No. 22: All Documents and Communications produced, whether by
cooperation or in response to any applicable subpoena or other discovery device related to
Smartmatic Entities, Dominion Entities, or the 2020 Election in the United States.

Response to Document Request No. 22:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(b), 8(c),

8(d), 8(e), 8(f), 8(j)): “Document[s],” “and,” “or,” “Communication[s],” “relat[ed] to,” “Dominion

Entity(ies),” “2020 Election in the United States,” and “Smartmatic Entity(ies).” Mr. Soros further

objects to this Request to the extent it calls for the production of Private Communications (General

Objection No. 4). Mr. Soros also objects to this Request on the basis that it purports to require the

production of Communications, without limitation of time period, that would require an

unreasonable expenditure of time and resources to obtain, and accordingly is overbroad and unduly

burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 22, as

these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.




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Document Request No. 23: All Documents and Communications related to payments,
contributions, grants, gifts, or any other form of funding made by You in connection with the
review, monitoring, oversight, or reporting on the 2020 Presidential Election, including all
Documents and Communications identifying the recipients of such funding, dates of funding and
the amount of funds provided.

Response to Document Request No. 23:

               Mr. Soros objects to this Request for the reasons stated in the Preliminary Statement

and General Responses and Objections, each of which is incorporated by reference as if fully stated

herein. Without limiting the generality of the foregoing, Mr. Soros objects to this Request on the

basis that it seeks Documents that are not relevant to the merits of Plaintiffs’ claim against the

Defendants or any defense thereto (General Objection No. 1), that it seeks Documents that are

more readily available from other sources (General Objection No. 6), that it is overly broad as to

time (General Objection No. 5), and that it incorporates the following defined terms which are

themselves objectionable for the reasons stated above (General Objection Nos. 8(a), 8(d), 8(e),

8(f), 8(g), 8(j)): “Document[s],” “and,” “or,” “Communication[s],” “relat[ed] to,” “You,” “2020

[] Election [in the United States].” Mr. Soros further objects to this Request to the extent that it

seeks the discovery of Documents protected by the attorney-client privilege, attorney work-

product doctrine, or any other applicable privilege, protection, or immunity from discovery.

Mr. Soros further objects to this Request to the extent it calls for the production of Private

Communications (General Objection No. 4). Mr. Soros also objects to this Request on the basis

that it purports to require the production of Communications, without limitation of time period,

that would require an unreasonable expenditure of time and resources to obtain, and accordingly

is overbroad and unduly burdensome.

               For the reasons set forth in the Preliminary Statement and General Responses and

Objections, Mr. Soros will not search for or produce any materials in response to Request 23, as




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these materials are irrelevant to the Soros-related statements alleged to be defamatory in this

Action.


Dated: New York, New York
       August 10, 2023


                                           By:        /s/ Elizabeth Bower         .




                                                      Elizabeth Bower

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